Dear Warden Yelverton:
This office is in receipt of your request for an opinion of the Attorney General in regard to employment of a convicted felon. Your question is as follows:
      Can a person convicted of a felony work in a law enforcement capacity, i.e., as a guard at a detention facility.
Although 42:1414 requires termination of employment of a state employee upon conviction of a felony during his employment, we find no general state law which would prohibit hiring a person convicted of a felony.
However, while we do not find a statute which prohibits a felon from employment in a detention facility, it must be remembered an automatic pardon following completion of a sentence for an individual that has not previously been convicted of a felony under Art. 4, Sec. 5E, La. Const. 1974 and R.S. 15:572, does not include the right to carry a firearm unless pardoned by the governor, or the passage of ten years from the date of the completion of his sentence, or where the sheriff of the parish in which the former felon resides issues a permit under R.S.14:95.1(C)2. Thus, this provision must be considered in regard to the question of hiring a felon as a guard since it is assumed being armed is a requirement of the position. The felon would thereby be disqualified as being incapable of carrying out the duties.
Moreover, while we do not find a state law prohibiting the employment of a felon, we feel qualifications of public employees in security positions for governmental agencies, departments or subdivisions may specify that the employee can not have been convicted of a felony or may require "good character" which would necessitate consideration of all the facts of the conviction and subsequent behavior since release. We feel the nature of the position as a guard at a detention facility, would justify such restrictions for employment without infringing upon an individual's constitutional rights inasmuch as integrity and trust are prerequisites for the position.
We hope this sufficiently answers your question, but if we can be of further assistance, do not hesitate to contact us.
Sincerely yours,
             RICHARD P. IEYOUB Attorney General
             By: _______________________________________________ BARBARA B. RUTLEDGE Assistant Attorney General
BBR